
OPINION
Upon review of the motions for reconsideration in this matter the Fort Peck Tribal Court of Appeals hereby issues the following:
1. That the Tribal Court jury verdict concerning Shannon Lezard and Debra Granbois is hereby affirmed.
2. Considering the alleged fact brought to light subsequent to the jury trials that the victim in this case was indeed not pregnant at the time of the assaults, as asserted in the complaint.
3. These matters are hereby remanded to a lower court for a sentence review.
4. The Tribal Court is hereby ordered to hold a hearing to determine whether or not the victim was indeed pregnant at the time of the assault.
5. In the event that the victim was pregnant at the time of the assault the sentence previously handed down by the Tribal Court shall stand.
6. In the event that the victim is found to have not been pregnant at the time of the assault the sentence shall be reevaluated by the Tribal Court and at the Tribal Camt’s discretion, suspended in part, revoked or upheld.
7. This court in review of the record and the facts associated therewith and in review of the elements of simple assault find that the defendants by their actions' did commit the assaults.
8. As far as these matters pertain to Dannette Lezard this court that the sentencing shall also be reviewed even though she plead guilty absent a trial on the merit.
9. These matters are hereby remanded to the Tribal Court for proceedings consistent with this opinion.
